Case 1:23-cv-03825-RPK-MMH Document 1-2 Filed 05/23/23 Page 1 of 7 PageID #: 19




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------ x   No. 23-CV-3825
  MALIK MCCAIN,
                                                  Plaintiff,
                                                                               NOTICE OF REMOVAL

                                   -against-
  THE CITY OF NEW YORK; METROPOLITAN
  TRANSPORTATION AUTHORITY; OFFICER JOHN
  DOE; OFFICER JANE DOE; WAILOK WONG,
  SHIELD NO. 12002; JASON F. FARRELL, SHIELD NO.
  19867,
                                                  Defendants,
  -------------------------------------------------------------------------x




                                     EXHIBIT B
 Plaintiff’s Affidavits of Service filed in the Supreme Court of the State of New
                               York, Queens County
FILED: QUEENS COUNTY CLERK 04/27/2023 02:11 PM                                               INDEX NO. 708237/2023
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF QUEENS

          MALIK MCCAIN,

                                        Plaintiff,                Index No.:

                         -against-                                AFFIRMATION OF SERVICE

          THE CITY OF NEW YORK;
          METROPOLITAN TRANSPORTATION
          AUTHORITY; OFFICER JOHN DOE;
          OFFICER JANE DOE; WAILOK WONG,
          SHIELD NO. 12002; JASON F.
          FARRELL, SHIELD NO. 19867,

                                        Defendants.


                I, Sara Wolkensdorfer, an attorney duly admitted to practice law before the courts of the

         State of New York, hereby affirms the following is true under the penalties of perjury:

                On April 20, 2023, I personally served the within Summons and Complaint on Defendant

         City of New York by emailing the same to the City’s electronic service email at:

         serviceECF@law.nyc.gov.

         Dated: New York, New York
                April 27, 2023



                                                          By:

                                                                   Sara Wolkensdorfer

                                                          14 Wall Street, Suite 1603
                                                          New York, New York 10005
                                                          Phone: (212) 300-6506
                                                          Fax: (888) 390-5401

                                                          Attorneys for Plaintiff




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         C9<=9<6>19:ÿC9@:247ÿ;9<ÿ>04ÿC1>Dÿ9;ÿE4FÿG9<HIÿÿJ74624ÿ<4>61:ÿ1>ÿ;9<ÿD9@<ÿ<489<?2IÿÿJ74624ÿ:9>4ÿ>06>
         >04ÿB;;184ÿ9;ÿ>04ÿC9<=9<6>19:ÿC9@:247ÿ062ÿ6884=>4?ÿ24<A184ÿ9:7Dÿ;9<ÿ>04ÿC1>Dÿ9;ÿE4FÿG9<Hÿ6:?
         4:>1>142ÿ;9<ÿF0180ÿ>04ÿK6FÿL4=6<>54:>ÿ12ÿ6@>09<1M4?ÿ>9ÿ6884=>ÿ24<A184Nÿ1:87@?1:Oÿÿ>04ÿP6D9<ÿ6:?
         C1>DÿQO4:8DÿR46?2ÿ:654?ÿ1:ÿ>041<ÿ9;;18167ÿ86=681>142IÿÿS4<A184ÿ9;ÿ=<98422ÿ9:ÿ6:Dÿ1:?1A1?@677D
         :654?ÿ=6<>142ÿ062ÿ:9>ÿT44:ÿ6884=>4?I
         L98@54:>2ÿ5@2>ÿT4ÿ2@T51>>4?ÿ62ÿ6>>68054:>2Uÿ71:H4?ÿ?98@54:>2ÿF177ÿ:9>ÿT4ÿ6884224?ÿ6:?ÿF177ÿ:9>
         T4ÿ89:21?4<4?ÿ62ÿ=<9=4<ÿ24<A184ÿ9:ÿ>04ÿE4FÿG9<HÿC1>DÿK6FÿL4=6<>54:>IÿQ77ÿ?98@54:>2ÿ2@T51>>4?
         6;>4<ÿVWXXJPÿF177ÿT4ÿ89:21?4<4?ÿ24<A4?ÿ9:ÿ>04ÿ:4Y>ÿT@21:422ÿ?6DI
         J74624ÿT4ÿ<451:?4?ÿ>06>ÿ>04ÿK6FÿL4=6<>54:>ÿS4<A184ÿZ1:?9Fÿ<4561:2ÿ9=4:ÿ>9ÿ6884=>ÿ24<A184ÿ9;
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      SUPREMECOURT OF THE STATE OF NEW YORK                                                                                                                           COUNTY OF Q QEEN5


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      Plaintiff     / Petitioner:                                                                                                   AFFIDAVIT        OF SERVICE
      MAUK MCCAIN                                                                                                                            Index No:
      Defendant         / Respondent:                                                                                                      708237/2023

     THE CITY OF NEW YORK ET AL



     The undersigned        being duly sworn, deposes and says; deponent is not a party herein, is over 18 years of age and resides at County of
      Nassau.       That on Wed, Apr 26 2023 AT 09:54 AM AT 92-24 Rockaway Beach Blvd 100TH PCT, Far Rockaway, NY 11693 deponent served the
      within      summons and verified complaint and notice of commencement     by electronic filing on POLICE OFFICER JA5ON F FARRELL



                  individual:     by delivering a true copy of each to said defendant,                 personaHy;    deponent       knew the person so served to be the person
                  described      as said defendant therein.
                  Corporation/Entity:                                           a defendant, therein named, by delivering a true copy of each to
                  personally,      deponent     knew said corporation            so served to be the corporation described, and knew said individual                  to be
                                                thereof.

                  Suitable      Person:    by delivering        thereat,   a true copy of each to Sergeant Jimenez a person           of suitable    age and discretion,

                  Affixing to Door: by affixing a true copy of each to the door thereof,                    deponent        was unable   with due diligence      to find defendant.        or
                  a person of suitable age or discretion thereat, having caHed thereon;                     at


                  Mailing·             also enclosed a copy of same, in a postpaid sealed wrapper marked Personal & Confidential
                                Deponent                                                                                                and not indicating
       X
                  on the outside  thereof, properly addressed to said defendant at defendant's   last known residence/workplace,       92-24 Rockaway
                  Beach Blvd 100TH PCT. Far Rockaway, NY 11693, and depositing      said wrapper in a post office, official depository   under the exclusive
                  care and custody of the United States Post Office within New York State on Wed, Apr 26 2023 by REGULAR FIRST CLASS MAIL in an
                  envelope marked PERSONAL & CONFIDENTIAL and not indicating on the outside thereof, by retum                                         address ot otherwise,         that the
                  communication  Is from an attorney or concerns an action against the person to be served.

       X          Military Service: I asked the person spoken to whether defendant was in active military service of the United States or of the Stateof
                  New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The
                  source of my information    and the ground of my belief are the conversations and observations   above narrated. Upon information
                  and belief I aver that the defendant is not in the military                service of New York State or of the United             5tates as that term       s defined    in
                  either the State or in the Federal statutes.


      Description:
     Age: 40                                Ethnicity:          Hispanic                                         Gender:     Male                              Weight:        180
     Height' 5'5"
                                                    Hair:        Black                           Eyes:     Brown                                      Relationship:      Co worker
     Other


     Said documents              were conformed          with    index number     and date of filing   endorsed      thereon,
                                                                                                  5wom     to before       me on




     Mitchell       Raider                                                                        Notary    Public
     1450036


                                                                                                                  JANET RAIDER
                                                                                                       NOTARY PUBLIC, STATE OF NEW YORK
                                                                                                         Reghltration   No. 01RA6341022
                                                                                                           Qualifiedin   Nassau County
                                                                                                        Commission     Expires May 2,2024




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     SUPREMECOURT OF THE 5TATE OF NEW YORK                                                                                                                               COUNTY OF QUEENS


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     Plaintiff     / Petitioner:                                                                                                        AFFIDAVIT       OF SERVICE
      MALIK MCCAIN                                                                                                                                 Index No:
     Defendant          / Respondent:                                                                                                          708237/2023

     THE CITY OF NEW YORK ET AL



     The undersigned       being duly swom, deposes and says; deponent is not a party herein, is over 18 years of age and resides at County of
      Nassau,      That on Wed, Apr 26 2023 AT 09:51 AM AT 92-24 Rockaway Beach Blvd 100TH PCT, Far Rockaway, NY 11693 deponent served the
     within      summons and verified complaint and notice of commencement    by electronic filing on POLICE OFFICER WAILOK WONG



                 Individual:     by delivering a true copy of each to said defendant,                    personally;     deponent       knew the person so served to be the person
                 described      as said defendant therein.

                 Corporation/Entity:                                            a defendant, therein named, by delivering a true copy of each to
                 personally,       deponent     knew said corporation            so served to be the corporation described, and knew said individual                     to be
                                                thereof.

                 Suitable      Person:    by delivering         thereat,   a true copy of each to Sergeant Jimenez a person               of suitable   age and discretion.

                 Affixing to Door: by affixing a true copy of each to the door thereof,                         deponent        was unable    with due diligence    to find defendant,   or
                 a person of suitable age or discretion thereat, having called thereon;                         at


       X         Mailing"             also enclosed a copy of same, in a postpaid sealed wrapper marked Personal & Confidential
                               Deponent                                                                                           and not indicating
                 on the outside  thereof, properly addressed to said defendant at defendant's   last known residence/workplace,  92-24 Rockaway
                 Beach Blvd 100TH PCT, Far Rockaway, NY 11693, and depositing said wrapper in a post office, official depository   under the exclusive
                 care and custody of the United States Post Office within New York State on Wed, Apr 26 2023 by REGULAR FIRST CLASS MAIL in an
                 envelope marked PERSONAL & CONFIDENTIAL and not indicating on the outside thereof, by return address ot otherwise, that the
                 communication           is from an attomey           or concerns    an action against the person to be served.

       X         Military Service: I asked the person spoken to whether defendant       was in active military service of the United States or of the State of
                 New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no militaty uniform. The
                 source of my information    and the ground of my belief are the conversations      and observations   above narrated. Upon information
                 and belief I aver that the defendant  is not in the military service of New York State or of the United States as that term is defined in
                 either the State or in the Federal statutes.


      Description:
     Age:        40                         Ethnicity:          Hispanic                                             Gender:     Male                              Weight:       170
                      5'5"
      Height:                                       Hair:        Black                             Eyes:       Brown                                     Relationship:       Co worker
     Other


     Said documents             were conformed           with    index number       and date of filing    endorsed      thereon.
                                                                                                    Sworn to before            me on      H    S                                              d




     Mitchelf      Raider                                                                           Notary Public
      1450036

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                                                                                                         NOTARY PUBUC. STATE OF NEW YORK
                                                                                                           Raglemation No, 01RA6341022
                                                                                                             Qualilled in Nassau County
                                                                                                          Commission    Expires May 2, 2034




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     SUPREME COURT OF THE STATE OF NEW YORK                                                                                                                              COUNTY OF QU1!ENS


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     Plaintiff     / Petitioner:                                                                                                     AFFIDAVIT        OF SERVICE
     MAUK MCCAIN                                                                                                                                 index No:
     Defendant          / Respondent:                                                                                                           708237/2023

     THE CITY OF NEW YORK ET AL



     The undersigned   being duly sworn, deposes and says; deponent is not a party herein, is over 18 years of age and resides at County of
     Nassau.   That on Tue, Apr 25 2023 AT 10:55 AM AT 2 BROADWAY, NEW YORK. NY 10004 deponent served the within summons and verified
     complaint and notice of commencement      by electronic filing on METROPOLITAN TRANSIT AUTHORITY



                 Individual:     by delivering a true copy of each to said defendant,                  personally;   deponent        knew the person      so served to be the person
                 described      as said defendant therein.

      X          Corporation/Entity:                METROPOL[TAN          TRANSIT AUTHORITY a defendant,   therein              named,  by delivering a true copy of each to John
                 Doe personally,          deponent      knew said corporation      so served to be the corporation              described, and knew said individual   to be Cid
                 thereof.

                 Suitable      Person:     by delivering       thereat,   a true copy of each to                                 a person of suitable        age and discretion.

                 Affixing to Door: by affixing a true copy of each to the door thereof,                      deponent     was unable        with   due diligence    to find defendant,       or
                 a person of suitable age or discretion thereat, having called thereon;                      at


                 MaHing: Deponent                  a copy of same, in a postpaid sealed wrapper marked Personal & Confidential
                                              also enclosed                                                                           and not indicating
                 on the outside           properly addressed to said defendant
                                         thereof,                                   at defendant's last known residence/workplace,                                                                ,
                 and depositing  said wrapper in a post office, official depository   under the exclusive care and custody of the United states Post
                 Office within New York State on                           by REGULAR FIRST CLASS MAIL in an envelope marked PERSONAL &
                 CONFIDENTIAL            and not indicating on the outside thereof, by return                address of otherwise,         that the communication            is from an
                 attorney      or concerns    an action against the person to be served.

                 Military Service: f asked the person spoken to whether defendant was in active military service of the United 5tates or                                       of the State of
                 New York in any capacity whatever and received a negative reply. Defendant wore ordinary civilian clothes and no military                                     uniform. The
                 source of my information    and the ground of my belief are the conversations   and observations    above narrated. Upon                                      information
                 and belief I aver that the defendant is not in the military service of New York 5tate or of the United States as that term                                     is defined   in
                 eitherthe      State or in the Federal statutes.


     Description:
     Age:        40                  Ethnicity:        African    American                                              Gender:          Male                      Weight:      170
                      5'10"
     Height:                                             Hair:      Black                          Eyes:     Brown                                     Relationship:         Clerk
     Other


     Said documents             were conformed          with     index number     and date of filing    endorsed     thereon.
                                                                                                   Sworn to before              on                                   o




     Mitchell      Raider                                                                          Notary Public
     1450036



                                                                                                                       JANET RAIDER
                                                                                                               ARY PUBLIC, STATE y NEVE
                                                                                                                                            YOM
                                                                                                              Registration   o. 01RA6341022
                                                                                                                QuaNfied in Nassau
                                                                                                                                     County
                                                                                                             Commission    Expires May 2, 2024




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